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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                     ) Case No. 3:19md2885
 EARPLUG PRODUCTS LIABILITY                )
 LITIGATION,                               )
                                           )
                                           ) Judge M. Casey Rodgers
 This Document Relates to
 All cases                        )
                                  ) Magistrate Judge Gary R. Jones
                                  )
                                  )
_________________________________ )

                      MOTION TO APPEAR PRO HAC VICE


       Pursuant to Pretrial Order No. 3 (ECF No. 4), Case Management order 1, and
the Northern District of Florida Local Rules 11.1, Leah McMorris (“Movant”) of the
law firm Thornton Law Firm LLP, 1 Lincoln Street, Boston MA 02111, respectfully
moves for admission pro hac vice in the above-styled case, and in support thereof
states as follows:


        1.    Movant resides in Boston, Massachusetts and is not a resident of the
 State of Florida.

       2.    Movant is not admitted to practice in the Northern District of Florida.

       3.    Movant is licensed to practice and is a member in good standing of

 the bar for the State of Massachusetts.

       4.    A copy of a Certificate of Good Standing from the Clerk of the

 Supreme Court of the State of Massachusetts, dated within 30 days of this motion,

 is attached as “Exhibit A.”
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      5.    Movant certifies that she has successfully completed both the online

Local Rules tutorial exam (confirmation number FLND16315552394893) and the

CM/ECF Online Tutorials, as required by Local Rule 11.1.

      6.    Movant has remitted simultaneously with the filing of the motion the

Court’s $208.00 pro hac vice admission fee.

      7.    Movant has updated his PACER account to “NextGen.”

      8.     Movant is the attorney of record in the related cases identified in the
exhibit attached hereto as “Exhibit B” and made a part hereof.

WHEREFORE, Leah McMorris respectfully requests that this Court enter an Order
granting this motion to appear pro hac vice and directing the clerk to provide notice
of Electronic Case Filings to the undersigned.


DATED: September 16, 2021                 By: /s/ Leah McMorris
                                          Leah McMorris
                                          THORNTON LAW FIRM LLP
                                          Thornton Law Firm
                                          1 Lincoln Street
                                          Boston, MA 02111
                                          E. lmcmorris@tenlaw.com
                                          T. (617)720-1333
                                          F. (617)720-2445
                                          Attorney for Plaintiffs
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY this 16th day of September 2021, a true and correct

copy of the foregoing was electronically filed via the Court’s CM/ECF system, which

will automatically serve notice of this filing via e-mail to all registered counsel of

record.


 DATED: September 16, 2021                 /s/ Leah McMorris
                                             Leah McMorris
                                             Thornton Law Firm
                                             1 Lincoln Street
                                             Boston, MA 02111
                                             E. lmcmorris@tenlaw.com
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